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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER REQUESTING
                                                                         10   This Order Relates To:                  )   SUPPLEMENTAL SUBMISSIONS ON
                               For the Northern District of California
United States District Court




                                                                                                                      )   DIFFERENT LAW APPLICABLE TO
                                                                         11                                           )   MOTIONS IN ADVANCE OF THE
                                                                              ALL ACTIONS                             )   CASE STATUS CONFERENCE
                                                                         12                                           )
                                                                         13
                                                                         14        On August 7, 2015, the parties will meet for a case status
                                                                         15   conference.   The Court is in receipt of responses in satisfaction
                                                                         16   of prior requests made by the Court at ECF Nos. 3515, 3887.
                                                                         17        In reviewing the submissions and finalizing its preparation
                                                                         18   for the upcoming status conference, the Court is concerned about
                                                                         19   those certain still-pending motions relating to the Foreign Trade
                                                                         20   Antitrust Improvements Act ("FTAIA") which may require resolution
                                                                         21   by the Court.   The Court is cognizant that there are legal issues
                                                                         22   in connection with the FTAIA that have divided appellate courts.
                                                                         23   While it is part of the Court's normal role to decide FTAIA motions
                                                                         24   for the eight cases that will remain in this judicial district for
                                                                         25   trial, the Court is also tasked with making certain pre-trial
                                                                         26   decisions on motions for cases that will be remanded elsewhere.
                                                                         27   Yet deciding these motions under the law of the Ninth Circuit -- as
                                                                         28   the Court is required to do -- could result in successful appeals
                                                                               Case 3:07-cv-05944-JST Document 3942 Filed 07/31/15 Page 2 of 2




                                                                          1   within other judicial districts where the relevant appellate court
                                                                          2   has a contrary precedent.
                                                                          3           Accordingly, the Court ORDERS the relevant parties to jointly
                                                                          4   file a single table or list, sorted by case, of all pending motions
                                                                          5   where the above legal concerns regarding the FTAIA apply.          ECF No.
                                                                          6   3920-1 includes some, but perhaps not all, of this information.
                                                                          7   Include the motions' ECF Numbers, the jurisdiction to which the
                                                                          8   case will be transferred, and the Circuit wherein the jurisdiction
                                                                          9   sits.    Parties need not list cases that will remain within this
                                                                         10   judicial district, but should list other cases that will remain in
                               For the Northern District of California
United States District Court




                                                                         11   the Ninth Circuit upon remand.      Also note any other motion that is
                                                                         12   likely to encounter similar problems due to differing circuit law.
                                                                         13           The Court ORDERS this information to be provided no later than
                                                                         14   August 5, 2015.    As the deadline is very close in time to the date
                                                                         15   of this order, the Court does not require any new legal research as
                                                                         16   to how various appellate courts might rule.        The Court seeks to
                                                                         17   minimize any hasty legal research done to produce this purely
                                                                         18   informational list.    That said, insofar as parties have citation
                                                                         19   information already readily available and jointly agree that a
                                                                         20   specific case from a relevant appellate court is binding,
                                                                         21   instructive, or otherwise helpful to the Court in deciding whether
                                                                         22   to decide or remand the motion, it may be included.          Do not include
                                                                         23   arguments.
                                                                         24           This information will allow the Court to better evaluate
                                                                         25   whether or not to decide the motions prior to remanding the cases.
                                                                         26
                                                                         27           IT IS SO ORDERED.
                                                                         28           Dated: July 31, 2015
                                                                                                               UNITED STATES DISTRICT JUDGE

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